                                      No. 19-2690

                        UNITED STATES COURT OF APPEALS
                            FOR THE EIGHTH CIRCUIT


LITTLE ROCK FAMILY PLANNING SERVICES; PLANNED PARENTHOOD OF ARKANSAS
  & EASTERN OKLAHOMA, doing business as Planned Parenthood Great Plains;
STEPHANIE HO, MD, on behalf of herself and her patients; TOM TVEDTEN, M.D., on
                     behalf of himself and his patients,
                            Plaintiffs-Appellees,
                                          v.
   LESLIE RUTLEDGE, in her official capacity as Attorney General of the State of
                                Arkansas, et al.,
                            Defendants-Appellants.

              On Appeal from the United States District Court for the
                          Eastern District of Arkansas
               No. 4:19-CV-00449-KGB (Hon. Kristine G. Baker)

                          Statement of Issues on Appeal

      Pursuant to Federal Rule of Appellate Procedure 30(b), Appellants submit

this statement of issues on appeal.

      There are four issues on appeal.

      The first issue on appeal is whether the district court erred by granting ex

parte consolidation of the action below with Planned Parenthood of Arkansas &

Eastern Oklahoma v. Jegley, Case No. 4:15-CV-00784-KGB (E.D. Ark).

      The second issue on appeal is whether the district court erred by preliminari-

ly enjoining Arkansas’s abortion-provider competency requirement. Ark. Code

Ann. 20-16-605 (Arkansas Act 700 of 2019).




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       The third issue on appeal is whether the district court erred by preliminarily

enjoining Arkansas’s ban on killing an unborn child solely on the basis of a Down

syndrome indication. Ark. Code Ann. 20-16-2001 et seq. (Arkansas Act 619 of

2019).

       The fourth issue on appeal is whether the district court erred by preliminarily

enjoining Arkansas’s law regulating abortion after 18 weeks’ gestation. Ark. Code

Ann. 20-16-2001 et seq.1 (Arkansas Act 493 of 2019).

                                           Respectfully submitted,

                                           LESLIE RUTLEDGE
                                            Arkansas Attorney General
                                           NICHOLAS J. BRONNI
                                            Arkansas Solicitor General
                                           VINCENT M. WAGNER
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1
 This act is currently codified at the same provision as the ban on killing an un-
born child solely on the basis of a Down syndrome indication.

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                         CERTIFICATE OF SERVICE

      I certify that on August 21, 2019, I electronically filed the foregoing with the

Clerk of Court using the CM/ECF system, which shall send notification of such fil-

ing to any CM/ECF participants.

                                        /s/ Michael A. Cantrell
                                        Michael A. Cantrell




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